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                                                                                      1/12/2021
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JOHN THOMAS WOLFENDEN, III,

                                 Plaintiff,
                                                                  20-cv-06307(ALC)
                        -against-
                                                                  ORDER OF
 ACOUSTIC, L.P. and INTERNATIONAL                                 DISCONTINUANCE
 BUISNESS MACHINES CORPORATION,

                                    Defendants.

ANDREW L. CARTER, JR., United States District Judge:

         It having been reported to the Court that this case has been or will be settled, it is hereby

ORDERED that the above-captioned action is discontinued without costs and without prejudice to

restoring the action to this Court’s calendar if the application to restore the action is made within

sixty (60) days.

SO ORDERED.

Dated:      January 12, 2021
            New York, New York

                                                               ANDREW L. CARTER, JR.
                                                               United States District Judge
